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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS
                           DALLAS DIVISION

NATIONAL RIFLE ASSOCIATION OF        §
AMERICA,                             §
                                     §
    Plaintiff and Counter-Defendant, §
                                     §
and                                  §
                                     §
WAYNE LAPIERRE,                      §
                                     §
    Third-Party Defendant,           §
                                     §
v.                                   §        Case No. 3:19-cv-02074-G
                                     §
ACKERMAN MCQUEEN, INC.,              §
                                     §
    Defendant and Counter-Plaintiff, §
                                     §
and                                  §
                                     §
MERCURY GROUP, INC., HENRY           §
MARTIN, WILLIAM WINKLER,             §
MELANIE MONTGOMERY, AND JESSE §
GREENBERG,                           §
                                     §
    Defendants.

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       Ackerman McQueen, Inc. (“AMc”), Mercury Group, Inc. (“Mercury Group”), Henry

Martin (“Martin”), William Winkler (“Winkler”), Melanie Montgomery (“Montgomery”), and

Jesse Greenberg (“Greenberg”) (collectively, “Defendants”) file this Brief in Support of their

Motion to Compel Plaintiff’s Document Production and Motion for Sanctions (the “Motion”), and

respectfully show as follows:

                                          I.   SUMMARY

       Defendants bring this Motion to address the National Rifle Association of America’s

(“NRA” or “Plaintiff”) refusal to comply with its discovery obligations. Despite serving responses

to Defendants’ requests for production, the NRA’s responses are riddled with boilerplate and

conclusory objections, and refusals to produce documents relating to the most basic issues in this

litigation (i.e., documents relating to the claims that they assert against Defendants in this case).

More egregious is the fact that the NRA has produced a mere 17 documents to date in response to

Defendants’ requests for production. This despite the fact that the NRA has had numerous

documents in its possession, custody, and control since filing its last live pleading in October 2019.

In addition, the NRA has repeatedly attempted to shirk its obligations to produce responsive

documents by claiming that certain documents are privileged, while simultaneously relying on that

same evidence to support its claims, impermissibly using the privilege as both sword and shield.

Requests for a privilege log have been ignored. Based on the NRA’s failure to comply with its

discovery obligations and the Federal Rules of Civil Procedure, AMc respectfully asks the Court

to grant this Motion to Compel in its entirety, overrule the NRA’s objections, compel the

production of documents, and award Defendants appropriate sanctions for having to bring this

Motion as a result of the NRA’s blatant refusal to comply with its discovery obligations.




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                                       II.     BACKGROUND FACTS

A. Litigation History

         This Motion arises out of a series of lawsuits the NRA filed against its longtime public-

relations firm, AMc, based in large part of the parties’ contract (the “Services Agreement”). In

addition to this action, the NRA has brought three separate lawsuits in Virginia, which have now

been consolidated into a single action (the “Virginia Action”).1

         Through its attorney William A. Brewer, III (“Brewer”) and his law firm, the Brewer

Attorneys and Counselors (the “Brewer Firm”), the NRA brought the instant action against AMc

in Texas (the “Texas Action”), replicating the same claims from the Virginia Action and including

additional causes of action for conversion, fraud, breach-of-fiduciary-duty, and conspiracy,2 along

with claims for copyright and trademark infringement. AMc filed a counterclaim for libel, tortious

interference, fraud, and breach-of-contract.3 Both parties are seeking damages in excess of $50

million.

         Beginning with its retention of the Brewer Firm, the NRA implemented a nationwide

misinformation strategy premised upon meritless lawsuits.4 These filings spin novellas of deceipt,

extortion, and victimization with no basis in fact. AMc is Brewer’s latest target.




1
  National Rifle Association of America v. Ackerman McQueen, Inc., et al., Civil Case No. CL19001757, pending in
the Circuit Court for the City of Alexandria, Virginia (filed on April 12, 2019); National Rifle Association of America
v. Ackerman McQueen, Inc., et al., Civil Case No. CL19002067, pending in the Circuit Court for the City of
Alexandria, Virginia (filed on May 22, 2019); National Rifle Association of America v. Ackerman McQueen, Inc., et
al., Civil Case No. CL19002886, pending in the Circuit Court for the City of Alexandria, Virginia (filed on September
5, 2019).
2
  These claims are now part of the Virginia Action since the NRA’s filing of its amended complaint on February 6,
2020. In fact, in the NRA’s Motion for Leave to File a Consolidated and Amended Complaint, it represented to the
Virginia court that “these new allegations are already contained in the Texas action.”
3
  See ECF 31 at pp. 77-122.
4
  Under Brewer’s influence since at least early 2018, the NRA has brought lawsuits against (1) Andrew Cuomo, the
Governor of New York and New York’s Chief Insurance Regulator; (2) the Lockton Companies; (3) Lt. Col. Oliver
North; (4) Letitia James, the New York Attorney General; and (5) the City of San Francisco.

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        Brewer is the son-in-law of Angus McQueen, the late CEO of AMc, and the brother-in-

law of Revan McQueen, AMc’s current CEO. Brewer himself has independent reasons for

inventing legal claims against AMc, including two decades of personal animus against the

McQueen patriarch, and an economic interest in supplanting AMc with his own firm’s public-

relations services. Brewer not only has access to decades of family history, he has collateral access

to communications with McQueen family members, which, aside from clear ethical implications,

hopelessly blurs the lines between the professional and the personal interests at stake in this

lawsuit.

B. The NRA’s Bad-Faith Discovery Effort

        On December 20, 2019, AMc served its Requests for Production on the NRA.5 The NRA

served its Objections and Responses6 on January 21, 2020. Two days later, on January 23, 2020,

the NRA served a mere 17 documents in response to AMc’s requests.

        On February 3, 2020, counsel for AMc attempted to confer with counsel for the NRA about

its deficient discovery objections, responses, and document production. As part of that conference,

AMc inquired into the status of the NRA’s document production, including when additional

documents would be produced. In response, counsel for the NRA stated only that the NRA was

still “evaluating” and “analyzing” what documents might be responsive, and forecasted a “decent

chance” of producing documents in the “near-ish” future.                     Not only was this response

noncommittal and evasive, it is entirely inconsistent with the NRA’s obligations under the Federal

Rules of Civil Procedure.




5
  See Ex. A-1 [APP 5-32], Defendant/Counter-Plaintiff Ackerman McQueen, Inc.’s First Requests for Production to
Plaintiff/Counter-Defendant.
6
  See Ex. A-2 [APP 33-108], Plaintiff/Counter-Defendant’s Objections and Responses to Defendant/Counter-Plaintiff
Ackerman McQueen, Inc.’s First Requests for Production.

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           When pressed regarding whether the NRA had even identified the relevant custodians for

undertaking its document search, counsel for the NRA replied that no custodians had yet been

identified. Defendants’ counsel also inquired as to the status of a privilege log for the 63 requests

for which the NRA had asserted attorney-client or work-product privilege. However, counsel for

NRA indicated that the only responses that would be included in the privilege log were those that

did not also include other objections, such as relevance. In the words of NRA counsel, “What’s

the point?”—apparently maintaining that any documents that the NRA unilaterally deemed

irrelevant or objectionable could be anonymously withheld from production.

           The NRA’s position on both objections and assertions of privilege is improper and

completely contrary to the Federal Rules.                 Moreover, unlike AMc’s extensive and costly

document-review efforts,7 it is clear that the NRA has not even begun to conduct a good-faith

effort to produce any additional documents. Through this Motion, AMc asks the Court to overrule

Plaintiff’s unfounded and boilerplate objections, compel a full and complete production of

documents, and order that Plaintiff provide a comprehensive privilege log.

                               III.     ARGUMENTS AND AUTHORITIES

A. Legal Standard.

           A party may obtain discovery of “any non-privileged matter that is relevant” to the claims

or defenses in a lawsuit and “proportional to the needs of the case.” FED. R. CIV. P. 26(b)(1).

Proportionality takes into account:

          the importance of the issues at stake in the action, the amount in controversy, the
          parties’ relative access to relevant information, the parties’ resources, the importance
          of the discovery in resolving the issues, and whether the burden or expense of the
          proposed discovery outweighs its likely benefit.

Id. Such information “need not be admissible in evidence to be discoverable.” Id.


7
    See ECF 51 at ¶¶ 24-25 (describing AMc’s discovery efforts to date).

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       The requesting party may move to compel production from another party who has failed

to produce documents requested under Federal Rule of Civil Procedure 34. See FED. R. CIV. P.

37(a)(3)(B)(iv). An evasive or incomplete response is treated as a failure to respond. FED. R. CIV.

P. 37(a)(4).

       The party resisting discovery must show specifically how each discovery request is not

relevant or otherwise objectionable. See McLeod, Alexander, Powel & Apffel, P.C. v. Quarles,

894 F.2d 1482, 1485 (5th Cir. 1990); McKinney/Pearl Rest. Partners, L.P. v. Metro. Life Ins. Co.,

322 F.R.D. 235, 242 (N.D. Tex. 2016) (“A party resisting discovery must show how the requested

discovery was overly broad, burdensome, or oppressive by submitting affidavits or offering

evidence revealing the nature of the burden.”). If the responding party does not make that showing,

“he waives the objection.” Curtis v. Metro. Life Ins. Co., No. 3:15-CV-2328-B, 2016 WL 687164,

at *2 (N.D. Tex. Feb 19, 2016). Further, “[u]nless it is clear that the information sought can have

no possible bearing on the claim or defense of a party, the request for discovery should be

allowed.” Merrill v. Waffle House, Inc., 227 F.R.D. 467, 470 (N.D. Tex. 2005).

       As clarified in Heller v. City of Dallas, the responding party “must fully answer” each

discovery request “to the full extent that it is not objectionable,” including an affirmative

explanation of “what portion of an interrogatory or document request is objectionable and the

subject of the answer or response,” as well as “whether any responsive information or documents

have been withheld.” 303 F.R.D. 466, 485 (N.D. Tex. 2014); FED. R. CIV. P. 34(b)(2)(C)

(requiring that an objection asserted in response to a request for production “must state whether

any responsive materials are being withheld on the basis of that objection.”).




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B. Proper Procedure for Claiming Privilege.

       Plaintiff asserts the attorney-client and work-product privileges in response to many of

Defendants’ requests for production. But that assertion of privilege carries specific requirements

with which the NRA must comply.

       1.      The attorney-client and work-product privileges

       Courts generally construe the attorney-client privilege narrowly because “assertion of

privileges inhibits the search for truth.” Navigant Consulting, Inc. v. Wilkinson, 220 F.R.D. 467,

473 (N.D. Tex. 2004) (Kaplan, J.).       The attorney-client privilege protects from disclosure

communications between a client and his attorney “made in confidence for the purpose of

obtaining legal advice.” Harding v. Cty. of Dall., Civil Action No. 3:15-CV-0131-D, 2016 U.S.

Dist. LEXIS 177937, at *26 (N.D. Tex. Dec. 23, 2016). The privilege protects “only those

disclosures necessary to obtain informed legal advice which might not have been made absent the

privilege.” Id. (citing Fisher v. United States, 425 U.S. 391, 403 (1976)). Hence, the privilege

does not protect documents and other communications simply because they result from an

attorney-client relationship. See Navigant, 220 F.R.D. at 473.

       The work product privilege applies only to documents and tangible things prepared in

anticipation of litigation or for trial. See FED. R. CIV. P. 26(b)(2)(A). This privilege may be

overcome when the party seeking discovery can show that it has “substantial need of the materials

in the preparation of the party’s case and that the party is unable without undue hardship to obtain

the substantial equivalent of the materials by other means.” SEC v. Brady, 238 F.R.D. 429, 442

(N.D. Tex. 2006).

       Because these privileges are not absolute, they also may be waived in certain

circumstances. For instance, “offensive use” of the attorney-client or work-product privilege may

result in a waiver of the privilege. Navigant, 220 F.R.D. at 478. An “offensive use” occurs when

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(1) the party asserting the privilege seeks affirmative relief; (2) the information, if believed by the

trier of fact, would probably be outcome determinative; and (3) disclosure of the privileged

communication is the only means of obtaining the evidence. Id. And of course, a communication

that is made in furtherance of a crime or a fraud forfeits any protection otherwise provided by

privilege. Chandler v. Phx. Servs., No. 7:19-cv-00014-O, 2020 U.S. Dist. LEXIS 15702, at *5

(N.D. Tex. Jan. 30, 2020) (citing In re Grand Jury Subpoena, 419 F.3d 329, 335 (5th Cir. 2005)).

       2.      Production of a privilege log

       “A blanket assertion of privilege is unacceptable; the party asserting a privilege should

prepare a privilege log that provides the requesting party with enough information to test the merits

of the privilege claim.” Weatherly v. Pershing LLC, No. 3:14-CV-366-N-BG, 2015 U.S. Dist.

LEXIS 187422, at *8-9 (N.D. Tex. Oct. 16, 2015) (citations omitted); United States v. El Paso

Co., 682 F.2d 530, 539 (5th Cir. 1982) (“[T]he attorney-client privilege may not be tossed as a

blanket over an undifferentiated group of documents. The privilege must be specifically asserted

with respect to particular documents.”). The purpose of the privilege log is “to enable opposing

parties and the court to determine whether each element of the asserted privilege is satisfied.”

Weatherly, 2015 U.S. Dist. LEXIS 187422, at *9 (citations omitted). Thus, a privilege log should

include “the document’s date of creation, author, title or caption, addressee and each recipient, and

general purpose for creation, as well as the particular privilege relied upon” to generally satisfy

Rule 26. Id.

       Indeed, this well-settled proposition is based on the express requirements of Rule 26, which

mandates that a party withholding information on the basis of a privilege must “expressly make

the claim[] and describe the nature of the documents, communications, or tangible things not

produced or disclosed.” FED. R. CIV. P. 26(b)(5)(A) (emphasis added).



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         The party asserting privilege “bears the burden of demonstrating its applicability,” In re

Santa Fe Int'l Corp., 272 F.3d 705, 710 (5th Cir. 2001). In accord, the Northern District of Texas

has held that “to support [] assertions of work-product protection or attorney-client privilege [and]

withholding certain documents or ESI from production, Plaintiff must describe the withheld

information, documents, or ESI by submitting to Defendant’s counsel a ‘privilege log’ that

complies with Federal Rule of Civil Procedure 26(b)(5)(A).” Areizaga v. ADW Corp., 314 F.R.D.

428, 439-40 (N.D. Tex. 2016) (emphasis added).

C. The NRA refused to produce documents central to its claims and defenses.

        The NRA freely makes damaging accusations about AMc in its court filings, which it

promptly offers to the media for mass consumption and maximum publicity.8 Yet the NRA has

refused to produce documents to support these claims.

        1.      The Brewer Firm

        As discussed above, the introduction of Brewer and his firm presents a twist on traditional

litigation. Based on the evidence developed to date, it is undisputed that this litigation, along with

the litigation against AMc and Mercury in Virginia, was developed by a resentful son-in-law and

business competitor acting in that capacity. Indeed, numerous high ranking NRA officials did not

even have knowledge of the initiation of the litigation against AMc. 9             In Virginia, the court

acknowledged the competitive nature of the Brewer Firm with AMc and entered a customized two-

tiered Protective Order to keep Brewer and his firm’s PR wing walled off from AMc’s confidential

business information. 10     Even Brewer’s co-counsel has acknowledged that he may be a fact




8
  AMc incorporates all factual allegations from its Amended Complaint (ECF 31) and its Response to the NRA’s
Motion to Compel (ECF 51) into this Motion as if set forth herein.
9
  See Ex. A-3 at 284:1-18 [APP 180]; 295:9-17 [APP 183]; Ex. A-4 at 273:16-274:9 [APP 299].
10
   See Ex. A-5 [APP 329-347], Protective Order in Virginia Action.

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witness.11 Under the facts of this case, AMc asks the Court to compel responses to the following

requests or, alternatively, a full and complete privilege log so AMc and the Court may properly

assess the merits of each privilege claim.

                a.     The Brewer Firm’s retention – RFPs 4, 6, 7, 8, 9, 12, 13, 16, 17, 23, 44, 79

        These requests seek documents related to the NRA’s original retention of Brewer and the

Brewer Firm, the reason(s) for the retention, along with the development of the relationship

thereafter, especially with regard to the NRA, Brewer, and Wayne LaPierre’s (“LaPierre”) original

intentions for terminating the relationship with AMc.12 In response to each of these RFPs, the

NRA asserts that this information is either irrelevant or that it is protected by attorney-client

privilege, and has refused to produce any documents.13

        RFPs 4, 6, 9, 12, 16, 17, and 79 seek documents related to the Brewer Firm’s original

engagement with the NRA, the initial scope of work, and whether the NRA followed proper

procedures for retaining what is now its largest vendor. Indeed, it is undisputed that the Brewer

Firm was not properly vetted or approved according to NRA policies and procedures.14 Moreover,

former NRA President Lieutenant Colonel Oliver North (“Col. North”) became NRA president

shortly after Brewer was retained, and he began asking questions about Brewer’s retention after

hearing numerous concerns from his NRA constituents. 15 Because Col. North challenged

Brewer’s retention and payments, Brewer (through the NRA) targeted Col. North for removal

through false claims of extortion, citing AMc as North’s co-conspirator.16 AMc is entitled to



11
   See Ex A-6, Hr’g Tr. at 27:20-22, 40:11-13 [APP 375, 388].
12
   See ECF 31 at 94 (¶ 56).
13
   See Ex. A-2 at RFP 4, 6, 7, 8, 9, 12, 13, 16, 17, 23, 44, 79 [APP 37, 38-40, 41-44, 46-47, 56, 74-75].
14
   See Ex. A-7 at 168:5-170:7, 172:10-174:19 [APP 4476-448]; Ex A-8 at 259:14-262:5 [APP 540-541]; Ex. A-4 at
185:11-21 [APP 277].
15
   See Ex. A-7 at 128:15-130:7 [APP 436-437].
16
   See Ex. A-7 at 169:13-172:9, 182:14-183:14, 203:24-207:4, 208:1-20, 209:7-210:22, 211:1-16, 212:18-22 [APP
447, 450, 455-457]; see also ECF 18 at ¶¶ 152-155.

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discover the basis of these extortion and conspiracy charges, which originate from the Brewer

Firm’s retention.

        Notably, courts consider information concerning the factual circumstances surrounding the

attorney-client relationship to be distinct from privileged communications. See Wirtz v. Fowler,

372 F.2d 315, 332 n.36 (5th Cir. 1966); In re LTV Sec. Litig., 89 F.R.D. 595, 603 (N.D. Tex. 1981).

This Court has held that the attorney-client privilege does not encompass the “external trappings”

of the attorney-client relationship, such matters as the terms and conditions of an attorney’s

employment, the purpose for which an attorney has been engaged, and the steps which an attorney

took or intended to take in discharging his obligation. In re LTV, 89 F.R.D. at 603. These requests

fall squarely within these permissible categories of documents and should be produced.

        Similarly, RFPs 7, 8, 13, 23, and 44 seek documents related to Brewer’s rapid takeover of

all NRA legal matters. From the single purpose for which he was ostensibly hired,17 Brewer’s

scope creeped steadily until he had effectively assumed control over the NRA.18 Actions taken by

Brewer were contrary to the NRA’s business goals and created a direct conflict of interest given

his animus towards the McQueen family and AMc.19 These requests are similarly related to the

“external trappings” of the NRA’s relationship with the Brewer Firm and therefore discoverable

in this matter. See In re LTV, 89 F.R.D. at 603.

        Moreover, the Brewer Firm itself appears to have been the orchestrator of the false

extortion and conspiracy narratives. 20 By creating and disseminating these false narratives,

Brewer was able to oust Col. North, terminate his contract, disgrace AMc, and steal the NRA’s PR



17
   See ECF 31 at 94 (¶ 56).
18
   See Ex. A-3 at 284:1-18; 295:9-17 [APP 180-183]; Ex. A-4 at 273:16-274:9 [APP 299].
19
   See Ex. A-3 at 107:10-108:2, 186:18-188:22, 235:16-236:12, 381:18-382:15 [APP 136, 156, 168, 205]; Ex. A-4 at
374:7-375:5 [APP 324].
20
   See Ex. A-8 192:1-201:14 [APP 523-526]; Ex. A-9 at 205:19-208:9 [APP 623].

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business in one fell swoop. As a result, the communications between Brewer or the Brewer Firm

and any person at the NRA, including LaPierre, which AMc seeks in RFPs 9 and 79, fall within

the crime-fraud exception to the attorney-client privilege and are discoverable. See Chandler, 2020

U.S. Dist. LEXIS 15702, at *5.

                  b.     Brewer’s attorney’s fees – RFPs 5, 39, 40, 42, 43

         These requests seek documents and communications related to the Brewer Firm’s invoices

to the NRA and compensation the Brewer Firm received from settlement of the Lockton Lawsuit.21

In response, the NRA objected that these requests are irrelevant and protected by attorney-client

privilege and refused to produce any responsive documents.

         The Brewer Firm’s engagement and attorneys’ fees are at the heart of this case. In response

to numerous individuals within the NRA questioning the validity of the Brewer Firm’s

engagement, their exorbitant attorneys’ fees, and their conflicts of interests, Brewer and the Brewer

Firm have facilitated the termination and suspension of numerous high-ranking NRA officials, and

more importantly, created the false extortion narrative, discussed above, to deflect attention from

Brewer and LaPierre’s financial mismanagement of the NRA.22 RFPs 39 and 40 seek documents

related to internal questions raised by former NRA President Col. North and another NRA

accounting employee regarding the validity of Brewer’s billing practices.

         Additionally, with regard to RFP 5, which seeks the Brewer Firm’s attorney fees, the NRA

has included “reasonable and necessary attorney fees” in its claim for damages. 23 Therefore,

Brewer’s invoices, including the dollar amount of the services rendered and the invoice detail,




21
   National Rifle Association of America v. Lockton Affinity Series of Lockton Affinity, LLC, et al, Case No. 1:18-cv-
639, in the United States District Court for the Eastern District of Virginia (the “Lockton Lawsuit”).
22
   See Ex. A-3 at 314:12-315:7, 341:9-342:1 [APP 188, 195]; ECF 31 at 77 (¶ 1), 94 (¶ 56).
23
   See ECF 18 at ¶ 189(f).

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along with related communications between the NRA and the Brewer Firm, are relevant to

determining whether such fees were “reasonable and necessary” as alleged.

         The NRA has objected to producing any documents in response to these requests on the

grounds that this information is “irrelevant” (RFPs 39, 40, 42, 43) and protected by attorney-client

privilege (RFP 5). However, under the unique facts of this case, the background of the Lockton

settlement, along with the NRA’s internal criticism and suspicions of the Brewer Firm, is highly

relevant to establishing that Col. North’s concerns about Brewer were meritorious and that AMc

was not engaged in an alleged coup. Moreover, the Northern District and Fifth Circuit have long

held that the attorney-client privilege does not generally extend to matters involving payment of

attorney fees. See Jeanbaptiste v. Wells Fargo Bank, N.A., No. 3:14-CV-0264-K (BH), 2014 U.S.

Dist. LEXIS 167478, at *7-8 (N.D. Tex. Nov. 4, 2014).24 With regard to RFP 5, the invoices

should be produced in their entirety, with sufficient detail to determine the type of task performed

and the amount billed.

                  c.     Knowledge of Angus McQueen’s cancer – RFPs 1, 2, 3, 10, 90, 91

         These requests seek documents between the Brewer Firm and the NRA concerning the

illness and passing of Angus McQueen. RFP 10 seeks internal communications regarding any

conflicts of interest related to Brewer’s retention (which also relates to North’s investigation).

Similarly, RFPs 90 and 91 seek communications between Brewer, the Brewer Firm, and the NRA

and any members of the McQueen and Brewer families.


24
   The Fifth Circuit has "long recognized the general rule that matters involving the payment of [attorney's] fees . . .
are not generally privileged." In re Grand Jury Subpoena, 913 F.2d 1118, 1123 (5th Cir. 1990). Such "matters"
naturally include attorney's fees invoices. See, e.g., Hill v. Hunt, 2008 U.S. Dist. LEXIS 68925, 2008 WL 4108120,
at *7 (N.D. Tex. Sept. 4, 2008) ("Ordinarily, invoices for legal fees are not privileged."); Stonehenge/Fasa-Tex., JDC,
L.P. v. Miller, No. Civ. A. 3:94-CV-0912-G, 1998 U.S. Dist. LEXIS 18569, 1998 WL 826880, at *2 (N.D. Tex.
Nov.23, 1998) (holding that the "invoices for legal fees" were not protected by either the attorney-client privilege or
the work product doctrine because they were "merely a byproduct of the fact of the representation"). Only when
attorney's fees invoices contain "confidential" client [*8] information may a privilege be invoked. See Hill, 2008 U.S.
Dist. LEXIS 68925, 2008 WL 4108120, at *7.

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           In response, the NRA has objected that these requests are both irrelevant and “harassing.”

Yet, the Brewer Firm, on behalf of the NRA, has engaged in deeply personal and calculated attacks

on the McQueen family in a manner that itself could only be labeled as harassing—with escalating

demands, threats of indictment, lawsuits, media posts, and more lawsuits, at times that strategically

coordinated with Angus’s medical treatment, his final family events, his declining health, and

ultimately the period of grief following his death.25 On multiple occasions, Brewer even used

family members as back-channels to communicate his threats and demands.

           The NRA’s decision to retain Brewer suggests that the two intentionally targeted AMc for

termination long before the NRA represented its dissatisfaction with AMc. These documents and

communications are discoverable and relevant, both to AMc’s defense against the NRA’s claims

for fraud, and to AMc’s affirmative claims of fraud and tortious interference.

                    d.    Brewer taking over AMc’s business – RFPs 7, 11, 64, 65, 87, 88, 89

           These requests seek documents and information related to the Brewer Firm’s assumption

of public-relations work for the NRA in place of AMc.26 The Brewer Firm asserted that all of this

information is protected by attorney-client privilege or otherwise irrelevant and has refused to

produce any documents.

           However, the circumstances of this litigation require discovery into these communications.

Even ignoring the fact that Brewer is a member of the McQueen family, the Brewer Firm is also a

competitor of AMc in the public-relations and crisis-management market—another atypical

litigation scenario. It is undisputed that shortly after entering the scene, Brewer and the Brewer

Firm began to take over public relations for the NRA, including draft press releases, something




25
     See ECF 31 at 100-102 (¶¶ 78-83), 103-106 (¶¶ 89-102); ECF 51 at 3 (¶¶ 3-4).
26
     See ECF 31 at 98 (¶¶ 68-69); ECF 51 at 4 (¶¶ 5-6).

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AMc had handled for the NRA for forty years.27 Communications between the Brewer Firm,

Brewer, or Travis Carter (“Carter”) (Managing Director of Public Affairs at the Brewer Firm) and

the NRA or the NRA Foundation (sought in RFPs 7, 11, 64, 65, and 87) are relevant to determining

how early the Brewer Firm began performing these competitive services for the NRA, what each

party’s understanding was as to the scope and progression of those services in favor of Brewer

over AMc, and the narrative to support termination.28 Likewise, communications with the media

by the Brewer Firm or Carter (RFPs 88 and 89) show intent to replace AMc’s services in favor of

the Brewer Firm, and relate to the NRA’s alleged coup theory29 and Defendants’ libel claim.30 A

decision to replace AMc would not only require termination of the Services Agreement, but also

costly termination fees.31 Thus, the NRA had a clear financial motive for inventing reasons to

terminate the Services Agreement for-cause, thus avoiding millions of dollars in payments and

fees.32

          Of course, communications with the media (RFPs 88 and 89) are also part of the Brewer

Firm’s stated goal of trying its clients’ cases in the “court of public opinion.” Indeed, Brewer

himself has been repeatedly quoted by news outlets across the country about the NRA’s litigation

against Defendants, including false and defamatory statements where he accuses AMc of engaging

in the alleged extortion of LaPierre. Thus, these communications are doubly relevant to AMc’s

claims for defamation and business disparagement resulting from the numerous false statements

that the NRA, through Brewer, gave to the media.




27
   See ECF 51 at 4 (¶¶ 5-6); Ex. A-4 at 153:7-22 [APP 269]; Ex. A-8 at 319:13-19 [APP 555].
28
   See ECF 31 at 98 (¶¶ 68-69); ECF 51 at 4 (¶¶ 5-6).
29
   See ECF 18 at ¶¶ 9, 70, 74, 76, 78, 125, 152-155, 161.
30
   See ECF 31 at 111 (¶¶ 119-124).
31
   See ECF 31 at 98-99 (¶¶ 70-73), 113-22 (¶¶ 138-184).
32
   See id.

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        Moreover, the communications sought are not privileged. Despite the NRA’s blanket

assertions, not all of these communications could possibly be considered “communications from

the client to the attorney made in confidence for the purpose of obtaining legal advice” or “prepared

in anticipation of litigation,” in particular the communications solely concerning public-relations

needs and not “legal advice.” See Harding, 2016 U.S. Dist. LEXIS 177937, at *26; FED. R. CIV.

P. 26(b)(2)(A). In fact, in the NRA’s litigation with the New York Attorney General,33 the NRA

sought to prevent discovery of certain information under the “public relations” extension of the

attorney-client privilege. The New York court held that, “[t]he NRA cannot use its publicist as a

sword and a shield, for public outreach when it feels so inclined, and in other instances, remained

tucked away from public view.”34 These requests are directly relevant to AMc’s defenses against

the NRA’s claims of fraud, breach of fiduciary duty, and breach of contract, as well as AMc’s

affirmative claims of libel, fraud, and tortious interference.35 AMc asks that, just as the New York

court held, this Court compel production of all documents that are not clearly privileged and a full

and complete privilege log for all documents withheld based upon this privilege.

        2.      Conspiracy – RFP 85

        This RFP seeks documents related to Plaintiff’s claims that AMc, Col. North, and others

conspired with NRA Board member Dan Boren to “extort” LaPierre into resigning from his

position at the NRA and leak information about the NRA to the press. In response, the NRA

objected that these documents were “irrelevant,” yet it devotes eleven paragraphs of its Amended

Complaint describing the alleged “coup” conspiracy and other claims related to Dan Boren.36 It



33
   State of New York v. Ackerman McQueen and the National Rifle Association of America, Inc., No. 451825/2019,
pending in the Supreme Court of the State of New York, County of New York.
34
   See Ex. A-10 [APP 626-638], Order (J. Crane) (Feb. 24, 2019).
35
   See ECF 31 at 51-69 (¶¶ 199-187), 111-113 (¶¶ 119-137).
36
   See ECF 18 at ¶¶ 9, 70, 74, 76, 78, 125, 152-155, 161.

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is nonsensical for the NRA to make such specific allegations and then hide behind relevance

objections. Plaintiff’s objections to these responses should be overruled for AMc to conduct

thorough discovery into the merits of Plaintiff’s conspiracy claim.

        3.       False “Independent Audit of AMc” – RFPs 47, 101

        In its Amended Complaint, the NRA alleges that AMc failed to comply with records

requests and audits of its books and records.37 Indeed, this was the alleged basis for the first rogue

lawsuit filed by Brewer on behalf of the NRA April 2019. RFPs 47 and 101 seek documents and

communications related to the NRA’s retention of a company called Forensic Risk Alliance

(“FRA”) to audit AMc’s books and records—the third audit conducted in a 6-month period.38

        Under the offensive-use doctrine, Plaintiff cannot make allegations about AMc’s

noncompliance with NRA audits and then withhold the very documents that would disprove those

allegations behind the wall of privilege. See Navigant, 220 F.R.D. at 478. Here, the factors for

offensive use are clear: the NRA is the party seeking affirmative relief, these documents would

prove or disprove these allegations—and be outcome determinative, and disclosure of this

information is the only meaningful way of obtaining the evidence. See id.39

        These communications go to the heart of whether this audit was based on legitimate means,

or whether it was simply an attempt to scrounge up some “dirt” that might be useful in terminating

the Services Agreement and taking AMc’s business with the NRA. In fact, contrary to the NRA’s

representation that the FRA audit would be an “independent audit”—without Brewer or his firm’s

involvement—one member of the FRA audit team, Susan Dillon, was a 16-year employee of the



37
   See ECF 18 at 23-27 (¶¶ 47-58).
38
   See ECF 31 at 98 (¶ 68).
39
   See also Columbia Data Prod., Inc. v. Autonomy Corp., 2012 WL 18 6212898 at *18 (D. Mass. Dec. 12, 2012)
(holding that the attorney-client privilege did not apply because there was no evidence that auditors were necessary
or highly useful in facilitating legal advice).

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Brewer Firm, further suggesting that this was far from an “independent audit” and instead another

rogue request by Brewer and the Brewer Firm.

        The NRA also objects to these requests arguing that these documents are already “in AMc’s

possession” following a subpoena to FRA. However, in response to this subpoena, FRA has

withheld more than 1,200 documents on the basis of attorney-client privilege.40 The NRA and/or

its attorneys are also in possession of these communications and should be compelled to produce

them to prevent the offensive use of these documents.

        4.      Leaks to Media – RFPs 22, 27, 28, 58, 86

        In similar fashion, Plaintiff has put allegations of media leaks directly at issue in its

pleadings by accusing AMc of leaking the NRA’s confidential information to the press.41 To

conduct discovery regarding these allegations, RFP 27 seeks documents related to the NRA’s

internal communications about such leaks by AMc. Yet the NRA refuses to produce the supporting

documents based on unfounded objections or claims of privilege. Similarly, RFP 58 seeks

communications regarding a specific leak allegation made by the NRA.42 In response, the NRA

claims that this information is “irrelevant.” Likewise, AMc has made a claim for libel against the

NRA.43

        Thus, communications between the NRA, Brewer, or a member of his firm with the media

(RFPs 22, 28, and 86) are directly relevant to determining the nature and intent of the statements

provided to the press regarding AMc. Similarly, these communications would also reveal whether

Brewer or someone at the NRA—rather than AMc—was the source of the NRA’s alleged media




40
   See Ex. A-11 [APP 639-675], FRA Privilege Log.
41
   See ECF 18 at ¶¶ 57, 75, 174-177.
42
   See Ex. A-12 at 234:21-237:12 [APP 735-736].
43
   See ECF 31 at 111 (¶¶ 119-124).

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leaks, thereby making these communications doubly relevant to AMc’s affirmative claims as well

as its defenses.

           In response to both of these requests, the NRA somehow maintains that these

communications are both irrelevant and protected by attorney-client and work-product privileges.

As stated above, the NRA bears the burden to show why these communications “have no possible

bearing” on the claims in this case. See Merrill, 227 F.R.D at 470. Plus, communications with the

media declare the NRA’s intention to disclose information publicly. The NRA’s claims of

privilege should be overruled.

           5.       Sloan – RFP 31

           The NRA has alleged that its digital media platform NRATV, which AMc produced and

managed for the NRA, was a financial failure.44 But because fundraising was never the intended

purpose of NRATV, it was not until 2018 that the NRA began seeking additional ways to monetize

this platform.45 AMc obliged with numerous ideas.

           However, one of the NRA’s fundraising vendors, Gurney Sloan (“Sloan”), became jealous

of AMc’s monetization efforts and believed that AMc was encroaching on his “territory.” Due to

Sloan’s influence, the NRA instructed AMc to back off certain fundraising activities. The NRA

now cites sluggish fundraising efforts as one reason for NRATV’s supposed “failure,” even though

any such declines were self-inflicted through Sloan’s influence.

           AMc has requested communications between the NRA and Sloan from January 1, 2018 to

the present. The NRA objects that this information is “irrelevant” and further that communications

between the NRA and a third-party fundraising vendor are somehow protected by attorney-client




44
     See ECF 18 at ¶ 43.
45
     See ECF 18 at ¶ 44; ECF 31 at 88 (¶¶ 37-41).

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and work-product privileges. Plaintiff’s objections are without merit, should be overruled, and

Plaintiff should be compelled to produce these responsive and relevant documents.

        6.      Powell – RFP 54

        Joshua Powell (“Powell”) is the former Chief of Staff for Wayne LaPierre who played a

central, antagonistic role in the events leading up to the dispute between AMc and the NRA. As

part of his role with the NRA, Powell was in charge of developing and overseeing the NRA’s

failed concealed-carry insurance initiative, Carry Guard. In late 2017, just a few months before

Brewer was retained, Powell told AMc: “Carry Guard is going to fail, and it’s going to be all

AMc’s fault”—even though AMc had nothing to do with developing or implementing the insurance

portion of the program. As the months went by, AMc began suspecting that Powell’s threat had

actually foreshadowed a plan to scapegoat AMc for the NRA’s legal and political troubles that

began with Carry Guard. Powell had also sexually harassed an employee of AMc and, as a result,

AMc requested that Powell be removed from all dealings with AMc. 46 Thus, Powell had an

additional motive for replacing AMc’s services with the Brewer Firm in apparent retaliation.

        Further, Powell has a checkered legal history of business flops, unpaid debts, and

judgments, so that information relating to his background, credibility, and the NRA’s knowledge

of this information is relevant evidence in this litigation.47

        Based on discovery to date, Powell played a critical role in developing the false narrative

that is currently bearing out through this lawsuit and being publicized in the media.48 RFP 54

seeks documents between Powell and Brewer that would shed light on Powell’s involvement in

these events. The NRA objected that such communications are protected by privilege, and further


46
   See Ex. A-12 at 109:2-17 [APP 704].
47
   Mike Spies and John Cook, A Top NRA Executive’s Trail of Business Flops and Unpaid Debt, THE TRACE (Oct. 1,
2018), https://www.thetrace.org/2018/10/nra-josh-powell/.
48
   See Ex. A-9 at 206:9-208:19 [APP 623].

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that the request is overly broad, unduly burdensome, and irrelevant. However, the nature of

Powell’s antagonistic history with AMc indicates that some of Powell’s communications may fall

within the crime-fraud exception to privilege. See Chandler, 2020 U.S. Dist. LEXIS 15702, at *5.

The NRA bears the burden to show how such communications are irrelevant or otherwise

objectionable in its response. With respect to claims of privilege, AMc asks the Court to compel

production of documents that do not clearly fall within a privileged category and communications

with Powell made in furtherance of a crime or fraud, along with a full and complete privilege log

that complies with the Weatherly factors, to allow meaningful assessment of the merits of the

privilege claims.

D. The NRA improperly asserts boilerplate objections and privileges.

        It is clear from NRA counsel’s stated position (“What’s the point?”) that it has no intention

of clarifying its objections or producing a privilege log for any request where a privilege claim

accompanies some other objection. Not only is the NRA’s stance improper under the Federal

Rules of Civil Procedure and this Court’s own precedent, but it represents an obvious effort to

obfuscate the discovery process and conceal relevant information. In addition to the specific

requests discussed above, AMc asks the Court to overrule Plaintiff’s boilerplate objections and

assertions of privilege if the NRA fails to carry its burden for each asserted objection and privilege.

        1.       The Court should overrule the NRA’s relevance objections.

        The NRA has asserted that 66 of AMc’s requests49 are irrelevant to the claims and defenses

in this lawsuit. As the party resisting discovery, the NRA must argue in support of its objection in

its response to this Motion or waive its objection to the request. See Curtis, 2016 WL 687164, at

*2. With regard to its relevance objections, the NRA bears the burden to show specifically how


49
  Ex. A-2 at RFP 1-13, 18-19, 22-23, 28-31, 35-36, 39-40, 42-44, 49, 51-54, 57-78, 81- 84, 86, 88-91, 94, 97 [APP
36-42, 44-45, 46, 48-50, 51-53, 54, 55-56, 59, 60-63, 64-74, 75-77, 78-80, 81-83].

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each of the requests is irrelevant. See McLeod, 894 F.2d at 1485. AMc asks the Court to overrule

Plaintiff’s relevance objections to all 66 of these requests absent a clear showing that they could

have “no possible bearing” on the parties’ claims or defenses. See Merrill, 227 F.R.D. at 470.

         2.       The Court should overrule the NRA’s objections as to scope.

         The NRA also asserted that 21 requests are overbroad and unduly burdensome.50 As the

party resisting discovery, the NRA must show how the requested discovery is overly broad and

unduly burdensome or else it waives the objections. See McLeod, 894 F.2d at 1485; Curtis, 2016

WL 687164, at *2. AMc further asks the Court to compel the NRA to amend its Objections and

Responses to affirmatively state “whether any responsive materials are being withheld” on the

basis of those objections. See FED. R. CIV. P. 34(b)(2)(C); Heller, 303 F.R.D at 485.

         3.       Virginia Protective Order – RFPs 12, 13, 16, 17, 27, 51, 55, 56, 57, 58, 67, 70,
                  71, 72, 85, 101

         The NRA refused to produce any documents in response to these requests claiming that the

requests themselves violated the Protective Order51 entered in the Virginia Action. AMc disagrees.

However, since the date of the RFP responses, the Virginia court ordered52 that discovery in the

Virginia Action could be used in the Texas Action, thus rendering the NRA’s objections moot.

AMc asks the Court to overrule the NRA’s objections and compel them to produce responsive

documents.

         4.       The NRA must produce a privilege log.

         Contrary to counsel for the NRA’s assertions, the NRA is required to produce a privilege

log for each and every one of the 63 requests for which the NRA asserts privilege. See FED. R.



50
   Ex. A-2 at RFP 11, 25, 33, 35-37, 41, 45-48, 50, 51, 53, 54, 61-63, 77, 82, 86, 147, 148 [APP 41, 47-48, 50--53, 55,
57-59, 60-63, 66-67, 74, 75-76, 78, 98-99].
51
   See Ex. A-5 [APP 329-347], Protective Order in Virginia Action.
52
   See Ex. A-13 [APP 761-763], Order (J. Dawkins) (Feb. 21, 2020).

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CIV. P. 26(b)(5)(A). Moreover, the privilege must be specifically asserted with respect to the

particular documents that the NRA seeks to protect, not “tossed as a blanket” over whole categories

of documents as the NRA appears to have done. See El Paso Co., 682 F.2d at 539. As they

currently stand, Plaintiff’s privilege objections provide no information for AMc or the Court to

meaningfully assess the merits of the privilege claim. See Weatherly, 2015 U.S. Dist. LEXIS

187422, at *8-9 (identifying the key information to be included in a privilege log). Accordingly,

to ensure that the NRA provides sufficient information to assess the merits of its privilege

assertions, AMc asks the Court to hold the NRA to the same standard it set out in Weatherly and

to compel the NRA to produce a complete privilege log for all claims of privilege that are not

otherwise overruled by this Court pursuant to this Motion.

E. The NRA withheld documents that should be readily accessible.

         Finally, the NRA failed to produce documents that it directly referenced in its Amended

Complaint. Indeed, the NRA made certain brazen allegations that were so detailed and specific, it

appeared as though the referenced documents might have been sitting right next to the drafter. For

example, the NRA has refused to provide any documents relating to the following requests, that

specifically ask for documents cited or relied upon in Plaintiff’s Amended Complaint:

        RFP 103: The first paragraph of the Amended Complaint’s Preliminary Statement claims
         that the NRA is in possession of “newly unearthed text messages, emails, and interviews”
         that supposedly show evidence of AMc’s bad acts.53

        RFP 109: The fourth paragraph of the Amended Complaint’s Preliminary Statement claims
         that the NRA has “acquired documents and information” showing evidence of fraud.54

        RFP 110: The fourth paragraph of the Amended Complaint’s Preliminary Statement
         references an “open letter” from an alleged “co-conspirator” of AMc.55



53
   See ECF 18 at 2.
54
   See ECF 18 at 3.
55
   See ECF 18 at 4.

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        RFP 112: The sixth paragraph of the Amended Complaint’s Preliminary Statement boldly
         claims that “many” digital media campaigns of other AMc clients “were shut down
         because of their ineffectiveness, costliness,” and lack of “specific performance data.”56

        RFP 138: Paragraph 76 of the Amended Complaint states that “discovery has corroborated
         one of the NRA’s worst fears” about AMc.57 To make this claim so confidently, this
         “discovery” must certainly have included documents of some kind.

         In total, RPFs 103-139 seek production of the documents the NRA relied upon in making

the specific and damaging allegations contained within its Amended Complaint. Moreover, AMc

has sued the NRA for libel, as NRA representatives have parroted the same allegations to the

media. Thus, it is critical to understand what documents the NRA was relying on at the time the

allegations were made to understand whether any of these allegations was made in good faith.

         Finally, the NRA has failed to produce documents responsive to requests for which it

asserted no objections, including RFPs 14, 15, 20, 24, 26, 95, and 96. 58 Specifically with respect

to RFP 20, which seeks LaPierre’s personal handwritten notes from meetings with AMc, the NRA

was asked to produce these documents to counsel in the Virginia Action on June 6, 2019—more

than eight months ago, 59 and it is undisputed that the Brewer Firm has these notes in their

possession.60 In January, the NRA finally produced about 200 pages of notes in the Virginia

Action, which represents only a tiny fraction of the notes in its possession. The NRA presents no

justification for failing to produce the remaining documents in response to these requests.

         Although the NRA has indicated that it will produce documents in the “near-ish” future,

the failure to produce documents that appear to be readily at hand is inexcusable. AMc asks the

Court to compel production of these documents immediately. Otherwise, the failure to produce



56
   See ECF 18 at 4-5.
57
   See ECF 18 at 51.
58
   Each of these responses invoked the NRA’s general objections but did not enumerate any specific objection to these
particular requests.
59
   See Ex. A-14 at 4-6 [APP 767-769].
60
   See Ex. A-12 at 50:1-22 [APP 689].

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only confirms that the NRA’s Amended Complaint is nothing but a tabloid-style article written for

media consumption that was never meant to be a good-faith legal filing. AMc further asks that, if

the NRA does not produce the documents in their entirety within the time ordered by the Court,

the Court strike each referenced allegation from the NRA’s Amended Complaint.

F. Defendants’ are entitled to sanctions.

       Given Plaintiff’s blatant refusal to comply with their discovery obligations, including

boilerplate and nonsensical objections, Defendants respectfully requests that the Court sanction

Plaintiff and award Defendants reasonable attorneys’ fees and costs in connection with this

Motion.

                                         IV.    PRAYER

       Defendants ask the Court to set this Motion for hearing in conjunction with the hearing on

Plaintiff’s Motion to Compel and, after the hearing, issue an Order with the following relief:

       1.      Overrule objections based on the Virginia Protective Order: RFPs 12, 13, 16, 17,
               27, 51, 55, 56, 57, 58, 67, 70, 71, 72, 85, 101;

       2.      Overrule relevance objections to RFPs 1-13, 18-19, 22-23, 28-31, 35-36, 39-40,
               42-44, 49, 51-54, 57-78, 81-84, 86, 88-91, 94, 97;

       3.      Overrule objections as to scope or burden for RFPs 11, 25, 33, 35-37, 41, 45-48,
               50, 51, 53, 54, 61-63, 77, 82, 86, 147, 148;

       4.      Compel the NRA to produce a privilege log for each of the responses for which
               Plaintiff asserts attorney-client, work product, or other privilege, to include the
               following information for each document:

               a.     The document’s date of creation;

               b.     The document’s author;

               c.     The document’s title or caption;

               d.     The addressee and each recipient;

               e.     The general purpose for creation of the document; and



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              f.     The particular privilege relied upon, as set forth in Weatherly v. Pershing
                     LLC, No. 3:14-CV-366-N-BG, 2015 U.S. Dist. LEXIS 187422, at *9 (N.D.
                     Tex. Oct. 16, 2015).

       5.     Compel the NRA to amend its responses to affirmatively state whether any
              responsive material has been withheld pursuant to any objections;

       6.     Compel complete production of documents within 10 days of the date of this
              Court’s Order; and

       7.     Compel the NRA to produce within 15 days of the date of this Court’s Order a list
              of custodians and search terms used to conduct the review necessary to perform
              the production.

Dated: February 26, 2020                   Respectfully submitted,

                                           /s/ G. Michael Gruber
                                           Jay J. Madrid, Esq.
                                           Texas Bar No. 12802000
                                           madrid.jay@dorsey.com
                                           G. Michael Gruber, Esq.
                                           Texas Bar No. 08555400
                                           gruber.mike@dorsey.com
                                           J. Brian Vanderwoude, Esq.
                                           Texas Bar No. 24047558
                                           vanderwoude.brian@dorsey.com
                                           Brian E. Mason, Esq.
                                           Texas Bar No. 24079906
                                           mason.brian@dorsey.com
                                           DORSEY & WHITNEY LLP
                                           300 Crescent Court, Suite 400
                                           Dallas, Texas 75201
                                           (214) 981-9900 Phone
                                           (214) 981-9901 Facsimile

                                           ATTORNEYS FOR DEFENDANTS
                                           ACKERMAN MCQUEEN, INC., MERCURY
                                           GROUP, INC., HENRY MARTIN, JESSE
                                           GREENBERG, WILLIAM WINKLER, AND
                                           MELANIE MONTGOMERY




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on February 26, 2020, I filed the foregoing document with the clerk of
court for the U.S. District Court, Northern District of Texas. I hereby certify that I have served the
document on all counsel and/or pro se parties of record by a manner authorized by Federal Rules
of Civil Procedure 5(b)(2).

                                               /s/ G. Michael Gruber
                                               G. Michael Gruber, Esq.




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